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1    Peter Borenstein (SBN 304266)
2    P.O. Box 885
     Culver City, CA 90232
3
     (213) 362-8740 (tel)
4    (877) 460-3681 (fax)
     peter@brnstn.org
5

6    Former Attorney for Plaintiff
7
     CLAUDELL MARTIN

8
                          UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11
     CLAUDELL MARTIN,                          Case No. 2:20-cv-02085-RSWL-JC
12

13                Plaintiff,
     vs.
14                                             DECLARATION IN SUPPORT OF
15                                             PETER BORENSTEIN IN SUPPORT
     AVIS BUDGET GROUP, INC., et al.,          OF PLAINTIFF’S REQUEST FOR
16                                             APPROVAL OF WITHDRAWAL OF
                  Defendants.
17                                             COUNSEL
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21
           I, PETER BORENSTEIN, declare:

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     1.    I was previously retained by Plaintiff Claudell Martin in the above-entitled
23
     action. I have personal knowledge of the matters set forth in this declaration.
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     2.    On June 4, 2020, counsel for the parties filed a Notice of Settlement based
25
     on a tentative settlement agreement they had negotiated pending Mr. Martin’s
26
     approval.
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     DECLARATION OF PETER BORENSTEIN IN SUPPORT OF PLAINTIFF’S REQUEST FOR APPROVAL OF
            WITHDRAWAL OF COUNSEL – MARTIN V. AVIS BUDGET GROUP, INC., ET. AL.
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1    3.    On July 6, 2020, Mr. Martin advised me that he would not sign the
2    settlement agreement despite my counsel over several weeks to the contrary.
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     4.    During this conversation, Mr. Martin indicated to me that he was prepared to
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     prosecute this matter in pro per and had already contacted the Court’s clerk
5
     regarding moving forward as a pro se litigant.
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     5.    I advised Mr. Martin of the risks involved with rejecting the settlement
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     agreement and representing himself going forward, including the possibility of the
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     Court granting the Defendants’ motion to dismiss.
9
     6.    Nevertheless, Mr. Martin and I have since terminated our attorney/client
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     relationship and it is my understanding that he plans to oppose Defendants’ motion
11
     to dismiss.
12

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     7.    Given Mr. Martin’s rejection of the settlement agreement I negotiated in

14
     good faith on his behalf with counsel for Defendants, the termination of our

15   attorney/client relationship, and his intent to represent himself going forward
16   against my advice, good cause exists to allow my withdrawal from this action.
17
           I declare under penalty of perjury under the laws of the State of California
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     that the foregoing is true and correct.
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           Executed on this 21st day of July 2020, at Los Angeles, California
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23
                                                         By:_____________________
24
                                                                Peter Borenstein
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     DECLARATION OF PETER BORENSTEIN IN SUPPORT OF PLAINTIFF’S REQUEST FOR APPROVAL OF
            WITHDRAWAL OF COUNSEL – MARTIN V. AVIS BUDGET GROUP, INC., ET. AL.
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